  14-02150-NPO Dkt 47 Filed 02/13/18 Entered 02/13/18 13:43:52 Page 1 of 1



__________________________________________________________________
                                                      SO ORDERED,



                                                     Judge Neil P. Olack
                                                     United States Bankruptcy Judge
                                                     Date Signed: February 13, 2018

                The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________
                            IN THE UNITED STATES BANKRUPTCY COURT FOR
                                THE SOUTHERN DISTRICT OF MISSISSIPPI

  IN THE MATTER OF:                                                                  CHAPTER 13 NO.:

  LONNIE P. WALKER
  ARETHA R WALKER                                                                    14 – 02150 – NPO


                                                    ORDER

             THIS CAUSE came before the Court on the Trustee’s Motion to Modify (DK #45); after notice and
  opportunity for hearing, and the Court being fully advised in the premises does hereby find and Order as
  follows:
             THAT, no response has been timely filed herein.
             THAT, the Trustee’s Motion to Modify, is well taken.
             THAT, the Debtors’ plan is hereby modified to make no further payments to JPMorgan Chase
  Bank, NA and that the Debtors are responsible for on-going mortgage payments directly to Rushmore Loan
  Management.
             THAT, the indebtedness of those creditors not timely filing proof of claims shall be paid $0.00 and
  said indebtednesses shall be discharged upon completion of this plan.
             THAT, the Debtors’ wage deduction order shall be amended accordingly.


                                              ##END OF ORDER##



  SUBMITTED BY:

  /s/Justin B. Jones
  JUSTIN B. JONES – MSB #103295
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